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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

FLOSSIE BYRD, WILLIAM AND
BILLIE HICKEY, DEBORAH
HOWARD, AND JEFFREY
STEVENSON, individually and on             Case No. 2:20-cv-10382
behalf of all others similarly situated,
                                           Hon. Nancy G. Edmunds
                    Plaintiffs,            Mag. David R. Grand

v.

 THE CITY OF DETROIT, a                    NOTICE OF APPEAL BY ALL
 municipal corporation; OFFICE OF          PLAINTIFFS
 THE CHIEF FINANCIAL OFFICER
 OF THE CITY OF DETROIT, a
 municipal entity; OFFICE OF THE
 ASSESSOR OF THE CITY OF
 DETROIT, a municipal entity;
 MICHAEL DUGGAN, in his official
 capacity as Mayor of the City of
 Detroit; ALVIN HORHN, in his
 official capacity as City of Detroit
 Assessor; WAYNE COUNTY, a
 municipal corporation; W. HOWARD
 MORRIS, in his official capacity as
 Commissioner of the State Tax
 Commission; LEONARD D.
 KUTSCHMAN, in his official
 capacity as Commissioner of the State
 Tax Commission; DAVID A. BUICK,
 in his official capacity as Executive
 Director of the State Tax Commission,

                    Defendants.
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                            NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Flossie Byrd, William and Billie

Hickey, Deborah Howard, and Jeffrey Stevenson, appeal to the United States Court

of Appeals for the Sixth Circuit from the Judgment and Order Granting

Defendants’ Motions to Dismiss (ECF Nos. 33, 34), entered in this action on

March 12, 2021.

Dated: March 15, 2021               Respectfully submitted,

                                      By: /s/ Rami Fakhouri
                                      Rami Fakhouri
                                      Betsy Farrington
                                      Samuel E. Schoenburg
                                      GOLDMAN ISMAIL TOMASELLI
                                      BRENNAN & BAUM LLP
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                                      Attorneys for Plaintiffs




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                          CERTIFICATE OF SERVICE
      I hereby certify that on the 15th day of March 2021, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the counsel of record.


                                               By: /s/ Rami Fakhouri
                                               Rami Fakhouri




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